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U S. DlSTR|CT COURT

WESTERN D|STF{|CT ARKANSAS

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FoR THE WESTERN I)ISTRICT oF ARKANSAS OCT 2013

 

 

FAYETTEVILLE DIVISION By CHR|S R-~|OHNSON. CLERK
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Phil Perry, :

Plaintiff, ; Civil Action No.: Z §/§Q g

V. : COMPLAINT AND DEMAND FOR
: JURY TRIAL

Walmart Credit Services, '

Defendant.

COMPLAINT

For this Complaint, the Plaintiff, Phii Perry, by undersigned counsel, states as follows:
JURISDICTION

l. This action arises out of Defendant’s repeated violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”).

2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant
transacts business in this District and a substantial portion of the acts giving rise to this action
occurred in this District.

PARTIES

3. Plaintiff, Phil Pen'y (“Plaintiff’) resides in Warwick, Rhode Island and a “person”
as defined by 47 U.S.C. § 153(10).

4. Defendant Wal-Mart Credit Services (“Wal-Mart”), is an Arkansas business entity
with an address of 702 Southwest Eighth Street, Bentonville, Arkansas 72716 is a “person” as

denned by 47 U.s.c. § 153(10).

 

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FACTS

5. In or around August 2013, Wal-Mart began calling Plaintiff on his cellular
telephone using an automatic telephone dialing system (“ATDS”).

6. When answering Wal-Mart’s telephone calls, Plaintiff heard a brief period of
silence before being connected to a live representative

7. On several occasions, Plaintiff stayed on the line to speak With a live
representative During these conversations, Plaintiff requested that Wal-Mart cease the
automated calls to his cellular telephone and only contact him on his residential telephone.

8. Nonetheless, Wal-Mart continued to hound Plaintiff with up to six (6) automated
calls per day to his cellular telephone.

COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT -

47 U.S.C. § 227, et seq.

9. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

10. Without express consent, Defendant contacted Plaintiff by means of automated
telephone calls on his cellular telephone in violation of 47 U.S.C. § 227(b)(l)(A)(iii). As such,
each call placed to Plaintiff is a knowing and/or willful violation of the TCPA, and is therefore
subject to treble damages of $1,500.00 per call pursuant to 47 U.S.C. § 227(b)(3)(C).

11. In the alternative, as a result of each negligent call made in violation of the TCPA,
Plaintiff is entitled to an award of $500.00 for each call pursuant to 47 U.S.C. § 227(b)(3)(B).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

l. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B);

 

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2. Treble damages pursuant to 47 U.S.C. § 227(b)(3)(B); and
3. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 23, 2013

Respectfully submitted,

By </h

Sergei Lemberg, Esq.

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